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11
                         UNITED STATES DISTRICT COURT
12                      CENTRAL DISTRICT OF CALIFORNIA
13
     VIOLETTA MAILYAN, an individual, ) Case No.:
14   on behalf of herself and all others       )
15
     similarly situated;                       ) CLASS ACTION ALLEGATION
                                               ) COMPLAINT
16                                 Plaintiffs, ) 1. Fraud through Concealment
17
                                               ) 2. Unfair Competition under
           v.                                  ) California Business and Professions
18                                             ) Code § 17200 et seq.
19
     APPLE INC., a California corporation; )
     and DOES 1-100, inclusive;                )
20                                             )
21
                                  Defendants. )
                                               ) JURY TRIAL DEMANDED
22                                             )
23         Violetta Mailyan (collectively “Plaintiff”), individually and on behalf of a class
24   of all similarly situated (“Class”) asserts the following claims against Apple Inc.
25   (“Defendant”) and in support thereof, states as follows:
26                                           PARTIES
27         1.     Plaintiff is an individual who at all times relevant herein resided in the
28   State of California, County of Los Angeles.
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                                           COMPLAINT
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 1         2.    Defendant is a California corporation, with its principal place of business
 2   in Cupertino, California.
 3         3.    Plaintiff is informed and believes and thereon alleges that Does 1 through
 4   100 are persons, corporations, partnerships, or other entities that were alter egos of
 5   Defendant or have directed, approved, committed, participated in, or added and
 6   abetted the acts and transactions alleged in this complaint. Each is therefore liable for
 7   the acts alleged in this complaint. The true names, capacities and/or roles of Does 1-
 8   100 are unknown to Plaintiff, and Plaintiff will amend this complaint when their true
 9   names, capacities and roles are known.
10                                  JURISDICTION AND VENUE
11         4.    This Court has jurisdiction pursuant to 28 U.S.C. § 1332 because the
12   Class consists of more than 100 members, the amount at issue is more than $5 million
13   exclusive of interest and costs; and minimal diversity exists because at list one
14   Plaintiff is a citizen of a different state than Defendant.
15         5.    Venue is proper under 28 U.S.C. § 1391 because Defendant conducts a
16   large amount of its business in this District, Defendant has substantial relationship to
17   this District, and a substantial part of the events and omissions giving rise to this
18   action occurred in this District.
19                                   STATEMENT OF FACTS
20         6.    Defendant is manufacturing famous smartphones under the trade name
21   iPhone. Almost every year Defendant introduces a new model of iPhone.
22         7.    Plaintiff and Class have owned different iPhone models for years,
23   including, but not limited to iPhone 4, iPhone 5, iPhone 6, iPhone 7, and iPhone 8.
24         8.    Before or after a new iPhone was announced or introduced in the market,
25   Plaintiff and Class noticed that the performance of their older iPhone models slowed
26   down either after downloading iPhone operating system (“iOS”) updates or otherwise
27   for unknown or undisclosed technical reasons.
28         9.    Defendant, through iOS updates or otherwise, purposefully slowed down
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                                            COMPLAINT
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 1   the performance of older iPhone models.
 2        10.    On December 20, 2017, Defendant admitted that it intentionally slowed
 3   down the operating speed of older iPhones.
 4        11.    In its official statement Defendant declared:
 5        “Our goal is to deliver the best experience for customers, which includes overall
 6        performance and prolonging the life of their devices. Lithium-ion batteries
 7        become less capable of supplying peak current demands when in cold
 8        conditions, have a low battery charge or as they age over time, which can result
 9        in the device unexpectedly shutting down to protect its electronic components.
10        Last year we released a feature for iPhone 6, iPhone 6s and iPhone SE to smooth
11        out the instantaneous peaks only when needed to prevent the device from
12        unexpectedly shutting down during these conditions. We’ve now extended that
13        feature to iPhone 7 with iOS 11.2, and plan to add support for other products in
14        the future.”
15        12.    Defendant’s statement was released in response to a report by Primate
16   Labs stating that the processors in iPhones slow down and decrease in performance as
17   batteries age and lose capacity.
18        13.    Defendant’s iOS updates never informed Plaintiff and Class that
19   Defendant was purposefully slowing down the operation of their devices.
20        14.    When Plaintiff and Class bought their iPhones they were expecting that
21   their iPhones would work properly, and that the performance of their iPhones would
22   not slow down for unapparent reasons.
23        15.    Defendant’s iOS updates were engineered to intentionally slow down the
24   performance speed of older iPhone models.
25        16.    Defendant’s iOS updates never disclosed that the slowdown in older
26   iPhone models might be remedied by replacing the battery in these devices or by
27   avoiding the download of iOS updates.
28        17.    Plaintiff and Class noticed remarkable slowdowns in the operation of their
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                                          COMPLAINT
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 1   iPhones before and after downloading iOS updates.
 2        18.    Defendant’s intentional slowdown of the performance of older models of
 3   iPhones greatly diminished the effectiveness, usefulness and utility of these devices.
 4        19.    As a result of the slowdown of the performance of their older iPhone
 5   models, Plaintiff and Class bought newer iPhone models in order to have a properly
 6   functioning smartphone.
 7        20.    Plaintiff and Class lost value of older iPhone models because of the
 8   slowdown of performance. Plaintiff and Class expended money to purchase newer
 9   iPhone models in order to avoid the slowdown of their older iPhone models.
10        21.    The slowdown of older iPhone models was material in impact, thus
11   prompting Plaintiff and Class to purchase newer iPhone models to avoid the
12   slowdown.
13        22.    If Plaintiff and Class knew that the performance of their iPhones would
14   slow down after the introduction of a new iPhone model or an iOS update, they would
15   not purchase an iPhone.
16        23.    If Plaintiff and Class knew that the slow performance of their iPhones
17   could be remedied by purchasing a new battery, they would buy a new battery instead
18   of a new iPhone model.
19        24.    If Plaintiff and Class knew that the slow performance of their iPhone
20   could be avoided by refusing to download the iOS update, they would not buy a new
21   iPhone model.
22        25.    Defendant knew and intentionally failed to disclose that it was
23   purposefully slowing down the performance of older iPhones models and that the
24   slowdown could be remedied by purchasing a new battery, by avoiding to download
25   the iOS update or otherwise.
26        26.    Prior to the purchase of their newer iPhone models, Defendant never
27   informed Plaintiff and Class that the performance of their old iPhone models could by
28   improved by purchasing a new battery.
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                                          COMPLAINT
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 1         27.    Defendant knew how to remedy or avoid the slowdown of older iPhone
 2   models. Defendant purposefully slowed down the speed of older iPhone models
 3   through unknown ways.
 4         28.    Defendant purposefully concealed and failed to disclose the fact that a
 5   battery replacement would improve the performance of older iPhone models.
 6         29.    The fact that the performance of older iPhone models could be remedied
 7   by a battery replacement was a material information for a reasonable consumer who
 8   wanted to improve the performance of his or her iPhone.
 9         30.    Defendant’s wrongful actions directly and proximately caused damages to
10   Plaintiff and Class.
11                              CLASS ACTION ALLEGATIONS
12         31.    Plaintiff brings this action on behalf of herself and all other members of
13   the Class, and alleges all claims herein on a common, class-wide basis, pursuant to
14   Fed. R. Civ. P. 23.
15         32.    The Class is defined as follows: All persons residing in the United States
16   who have owned iPhone models older than iPhone 8 and who have purchased a newer
17   iPhone model as a result of slowdown caused by Defendant through an iOS update or
18   otherwise.
19         33.    The Plaintiff is a member of the Class as defined above.
20         34.    Excluded from the class are all attorneys for the Class, officers of
21   Defendant, including officers and members of any entity with an ownership interest in
22   Defendant, any judge who sits on the case, and all jurors and alternate jurors who sit on
23   the case.
24         35.    Plaintiff is informed and believes that the proposed class comprises
25   millions of persons. Therefore, the Class is so numerous and geographically dispersed
26   that joinder of all members in one action is impracticable.
27         36.    There are substantial questions of law and fact common to the Class that
28   predominate over questions affecting only individual Class members including, but not
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                                           COMPLAINT
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 1   limited to, the following: whether Defendant intentionally slowed down the
 2   performance of older iPhone models through iOS updates or otherwise; whether
 3   Defendant intentionally concealed material information from Class members; whether
 4   Defendant’s conduct was the direct and proximate cause of the damages suffered by
 5   Class members; whether the Plaintiff and Class suffered monetary damages as a result
 6   of Defendant’s conduct; whether Defendant violated California Business and
 7   Professions Code §17200 et seq.; whether punitive damages should be awarded to
 8   Plaintiff and Class.
 9         37.    Plaintiffs’ claims are typical of the claims of the Class. Each member of
10   the Class had to buy a newer iPhone model because the performance of their older
11   iPhone model had slowed down as a result of Defendant’s purposeful conduct. Each
12   member of Class was denied the use, utility and value of the older iPhone model
13   because of the slowdown of performance. The injuries of the Plaintiff and Class are
14   identical, and Plaintiff’s claims for relief are based upon the same legal theories as the
15   claims of other Class members.
16         38.    Plaintiff will fairly and adequately protect and represent the interests of
17   the Class because her claims are typical of the claims of the Class, she is represented
18   by locally respected attorneys who have experience handling consumer litigation, who
19   are qualified and competent, and who will vigorously prosecute this litigation, and her
20   interests are not antagonistic or in conflict with the interest of the Class.
21         39.    A class action is superior to all other available methods for the fair and
22   efficient adjudication of this lawsuit because individual litigation of the other Class
23   members’ claims is economically unfeasible and procedurally impracticable. Litigating
24   the claims of the Class together will prevent varying, inconsistent, or contradictory
25   judgments, and will prevent delay and unnecessary expense to the parties and the
26   courts. A class action will be an efficient method of adjudicating the claims of the
27   Class members who have suffered relatively small damages as a result of the same
28   conduct of Defendant.
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                                             COMPLAINT
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 1                                           FIRST COUNT
 2                                   (Fraud through Concealment)
 3            40.   Plaintiff incorporates and realleges all allegations set forth in paragraphs 1
 4   to 39.
 5            41.   Defendant intentionally failed to disclose to Plaintiff and similarly
 6   situated class members that Defendant was purposefully slowing down the
 7   performance of older iPhone models through iOS updates or otherwise.
 8            42.   Defendant intentionally failed to disclose that the slow performance of
 9   older iPhone models could be remedied by purchasing a new battery or otherwise.
10            43.   Only Defendant knew that it was purposefully slowing down the
11   performance of older iPhone models and that the slow performance of older iPhone
12   models could be remedied by purchasing a new battery or otherwise.
13            44.   Plaintiff and similarly situated Class members did not know and could not
14   have discovered that Defendant was purposefully slowing down the performance of
15   older iPhone models and that the slow performance of older iPhone models could be
16   remedied by purchasing a new battery or otherwise.
17            45.   Defendant intended to deceive Plaintiff and Class by concealing the fact
18   that it was purposefully slowing down the performance of older iPhone models and
19   that the slow performance of older iPhone models could be remedied by purchasing a
20   new battery or otherwise.
21            46.   If Defendant disclosed that it would purposefully slow down the
22   performance of older iPhone models Plaintiff and Class would not buy these iPhone
23   models. Further, if Defendant disclosed that the slow performance of older iPhone
24   models could be remedied by purchasing a new battery, Plaintiff and similarly situated
25   Class members would buy a new battery instead of buying a newer iPhone model.
26            47.   Plaintiff and similarly situated Class members suffered damages because
27   they bought newer iPhone models as a result of the slow performance of their older
28   iPhones models caused by Defendant’s conduct.
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                                              COMPLAINT
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 1         48.      Defendant’s concealment of the fact that it was purposefully slowing
 2   down the performance of older iPhone models and that the slow performance of older
 3   iPhone models could be remedied by purchasing a new battery or by avoiding the
 4   download of the iOS update was a substantial factor in causing damages to Plaintiff
 5   and Class.
 6         49.      Defendant’s conduct was intentional and malicious, causing damages to
 7   Plaintiff and Class.
 8                                            COUNT TWO
 9                                     (Unfair Competition under
10                    California Business and Professions Code § 17200 et seq.)
11         50.      Plaintiff incorporates and realleges all allegations set forth in paragraphs
12   1 to 39.
13         51.      Pursuant to California Business and Professions Code § 17200, unfair
14   competition shall mean and include any unlawful, unfair or fraudulent business act or
15   practice.
16         52.      Defendant’s above described conduct was unfair and fraudulent because
17   Defendant purposefully slowed down the performance of older iPhone models through
18   iOS updates or otherwise.
19         53.      As a result of Defendant’s unfair and fraudulent business practices,
20   Plaintiff and Class suffered damages because they had to purchase a newer iPhone
21   model in order to replace their slow older model.
22         54.      Defendant’s conduct was intentional and malicious.
23                                   PRAYER FOR RELIEF
24         WHEREFORE, Plaintiff, individually and on behalf of the proposed Class,
25   respectfully request that the Court enter judgment in their favor as follows:
26         1. Certifying the Class under Fed. R. Civ. P. 23 and appointing Plaintiff and
27               her counsel to represent the class;
28         2. Awarding Plaintiff and the Class monetary damages as allowable by law;
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                                              COMPLAINT
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 1          3. Awarding Plaintiff and the Class appropriate equitable relief;
 2          4. Awarding attorneys’ fees, costs and litigation expenses, as allowable by
 3             law;
 4          5. Awarding punitive damages as allowable by law;
 5          6. Awarding all such further relief as allowable by law.
 6                                   JURY TRIAL DEMANDED
 7          Plaintiff, on behalf of herself and the Class, demands a trial by jury on all
 8   triable issues.
 9
     DATED: December 23, 2017                      KAASS LAW
10
                                                   By: /s/ Armen Kiramijyan
11
                                                   Armen Kiramijyan, Esq.
12                                                 Lead Attorney for Plaintiff
13
                                                   Hovsep Hovsepyan, Esq.
14                                                 Attorney for Plaintiff
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                                           COMPLAINT
